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                     IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION

UNITED STATES OF AMERICA                                               PLAINTIFF

vs.
                                 NO:4:07 CR 00036 GTE

TIFFANY HEAD                                                           DEFENDANT


                                           ORDER

       Defense counsel in the above-styled cause has commendably filed a motion (DE# 49)

to request the court to inquire into a possible conflict of interests that could arise from

counsel’s continued representation of this client, and his representation of a former client in

an unrelated case.

       At the hearing held on May 8, 2007 on the motion,1 the Assistant United States

Attorney averred that there is a “high likelihood” of overlapping of information between this

case and the case in which defense counsel previously had a client.

       It is the obligation of the trial court to avoid a serious potential for conflict as well

as to resolve an existing one. The former instance is clearly present here. See Wheat v. U.S.,

486 U.S. 153 (1988). Both prudence and discretion dictate that new counsel assume the

representation of Ms. Head. Cf. U.S. v. Lanoue, 137 F.3d 656 (12t Cir. 1998). This jurist

also concludes that the potential conflict sub judice, i.e., that counsel’s former client might




        1
           The motion was referred to the undersigned for resolution by the district judge
presiding, the Honorable G. Thomas Eisele (DE# 50).
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appear as a prosecution witness if the government pursues this case to trial, cannot be

waived.

       It is therefore ordered that Mr. Jerry Larkowski is relieved and discharged as counsel

for Ms. Head in this case, with the thanks of the court. New counsel will be appointed

immediately by separate order.

       IT IS SO ORDERED this 9th day of May, 2007.



                                      ___________________________________
                                      UNITED STATES MAGISTRATE JUDGE




                                             2
